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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


FOX VALLEY & VICINITY CONSTRUCTION                   )
WORKERS WELFARE FUND,                                )
                                                     )
FOX VALLEY & VICINITY CONSTRUCTION                   )
WORKERS PENSION FUND,                                )
                                                     )
LAKE COUNTY, ILLINOIS, PLASTERERS &                  )
CEMENT MASONS RETIREMENT SAVINGS                     )
FUND,                                                )
                                                     )       CIVIL ACTION
                               Plaintiffs,           )
                                                     )       NO.
       vs.                                           )
                                                     )       JUDGE
R & W CLARK CONSTRUCTION, INC.,                      )
an Illinois corporation,                             )
                                                     )
                               Defendant.            )


                                             COMPLAINT

       The Plaintiffs, FOX VALLEY & VICINITY CONSTRUCTION WORKERS WELFARE

FUND, FOX VALLEY & VICINITY CONSTRUCTION WORKERS PENSION FUND and LAKE

COUNTY, ILLINOIS, PLASTERERS & CEMENT MASONS RETIREMENT SAVINGS FUND,

by their attorneys, complaining of the Defendant, R & W CLARK CONSTRUCTION, INC., an

Illinois corporation, allege as follows:

                                              COUNT I

       1.      This action arises under the laws of the United States and is brought pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§1132, 1145 (herein-
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after referred to as "ERISA"). Jurisdiction is based upon the existence of questions arising

thereunder, as hereinafter more fully appears.

       2.      Plaintiffs, the FOX VALLEY & VICINITY CONSTRUCTION WORKERS

WELFARE FUND, FOX VALLEY & VICINITY CONSTRUCTION WORKERS PENSION FUND

and LAKE COUNTY, ILLINOIS, PLASTERERS & CEMENT MASONS RETIREMENT

SAVINGS FUND, are various welfare, pension and related joint, labor-management funds and bring

this action as "employee welfare benefit funds," and "plans," under ERISA. Plaintiff Funds are

administered within this District.

       3.      Defendant is obligated to make fringe benefit contributions to the Funds, under the

terms of the certain "Agreements and Declarations of Trust," establishing and outlining the

administration of these Funds, and pursuant to the terms of a collective bargaining agreement

adopting these "Agreements and Declarations of Trust" and entered into by Defendant.

       4.      As an employer obligated to make fringe benefit contributions to the Funds,

Defendant is specifically required to do the following:

               (a)     To submit to Plaintiffs for each month, by the 15th day of the month
                       following the month for which the report is made, a report stating the names,
                       social security numbers, and total hours worked in such month by each and
                       every person on whose behalf contributions are required to be made by
                       Defendant to Plaintiffs; or, if no such persons are employed for a given
                       month, to submit a report so stating;

               (b)     To accompany the aforesaid reports with payment of contributions based
                       upon an hourly rate as stated in the applicable agreements;

               (c)     To make all of its payroll books and records available to Plaintiffs for the
                       purpose of auditing same, to determine whether Defendant is making full
                       payment as required under the applicable agreements;




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               (d)    To compensate Plaintiffs for the additional administrative costs and burdens
                      imposed by Defendant's failure to pay, or untimely payment of, contributions,
                      by way of the payment of liquidated damages in the amount of 10 percent of
                      any and all contributions which are not timely received by Plaintiffs for a
                      particular month, as specified fully in Paragraph 4(a) above, together with
                      interest as provided in ERISA, 29 U.S.C. §1132(g);

               (e)    To pay any and all costs incurred by Plaintiffs in auditing Defendant's payroll
                      records, should it be determined that Defendant was delinquent in the
                      reporting or submission of all contributions required of it to be made to
                      Plaintiffs;

               (f)    To pay Plaintiffs' reasonable attorneys' fees and costs necessarily incurred in
                      the prosecution of any action to require Defendant to submit its payroll books
                      and records for audit or to recover delinquent contributions;

               (g)    To furnish to Plaintiffs a bond with good and sufficient surety thereon, in an
                      amount acceptable to Plaintiffs, to cover future contributions due the
                      Plaintiffs.

       5.      Defendant is delinquent and has breached its obligations to Plaintiffs and its

obligations under the plans in the following respect:

               Defendant has failed and refused to permit Plaintiffs' auditors to review its various
               payroll records in order to verify the accuracy of its past reports and to determine
               what additional contributions, if any, may be due the Plaintiffs.

       6.      That upon careful review of all records maintained by them, and after application of

any and all partial payments made by Defendant, the total amount due is unknown, based upon

Defendant’s failure to submit all required reports or to accurately state all hours for which

contributions are due on reports previously submitted, and subject further to the possibility that

additional contributions and liquidated damages will come due during the pendency of this lawsuit.

       7.      Plaintiffs have requested that Defendant perform its obligations as aforesaid, but

Defendant has failed and refused to so perform.




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       8.      Defendant's continuing refusal and failure to perform its obligations to Plaintiffs is

causing and will continue to cause irreparable injuries to Plaintiffs for which Plaintiffs have no

adequate remedy at law.

       WHEREFORE, Plaintiffs pray:

       (A)     That an account be taken as to all employees of Defendant covered by the collective
               bargaining agreement or agreements as to wages received and hours worked by such
               employees to determine amounts required to be paid to the Plaintiffs, covering the
               period for which the collective bargaining agreement is to be effective;

       (B)     That Defendant be enjoined and ordered to submit all delinquent monthly contribu-
               tion reports to Plaintiffs with the information required to be provided thereon, to
               continue to submit such reports while this action is pending, and to comply with its
               contractual obligation to timely submit such reports in the future;

       (C)     That judgment be entered in favor of Plaintiffs and against Defendant for all unpaid
               contributions, liquidated damages, any costs of auditing Defendant's records, accrued
               interest, and Plaintiffs' reasonable attorneys' fees and court costs necessarily incurred
               in this action as specified herein, or as subsequently determined, all as provided for
               in the plans and in ERISA;

       (D)     That Plaintiffs have such further relief as may be deemed just and equitable by the
               Court, all at Defendant's cost.

                                             COUNT II

       9.      Plaintiffs hereby reallege and incorporate herein Paragraphs 1 through 8 of Count I

as Paragraphs 1-9 of Count II.

       10.     As an employer obligated to make fringe benefit contributions to Plaintiffs under the

terms of the Agreements and Declarations of Trust, upon the request of the Plaintiffs, Defendant is

specifically required to furnish to the Plaintiffs a bond, with reputable surety thereon and the

Plaintiffs named as obligees thereunder, in the amount of $25,000, which is consistent with the

anticipated future obligations of Defendant.



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           11.        Pursuant to the power and authority provided by the terms of the Agreements and

Declarations of Trust, the Plaintiffs have requested that Defendant furnish to the Plaintiffs a bond,

with reputable surety thereon and with the Plaintiffs named as obligees therein, in the amount of

$25,000, but Defendant has failed to do so.

           12.        Plaintiffs are without an adequate remedy at law, have suffered and will suffer

immediate, continuing and irreparable injury, loss and damage unless Defendant is ordered to

specifically perform all obligations required by Defendant to be performed under the terms of the

Agreements and Declarations of Trust and to obtain the required surety bond in the amount of

$25,000 as requested by Plaintiffs.

           WHEREFORE, Plaintiffs pray:

           (A)        That Defendant be permanently enjoined to perform its obligations to Plaintiffs under
                      the terms of the Agreements and Declarations of Trust and to obtain and furnish to
                      the Plaintiffs a bond in the amount of $25,000 for contributions, liquidated damages,
                      interest and attorneys’ fees and costs, with reputable surety thereon and the Plaintiffs
                      named as obligees thereunder;

           (B)        That judgment be entered in favor of Plaintiffs and against Defendant for Plaintiffs’
                      reasonable attorneys’ fees and costs necessarily incurred in this action as specified
                      herein or subsequently determined all as provided in the Plans and in ERISA;

           (C)        That Plaintiffs have such further relief as may be deemed just and equitable by the
                      Court, all at Defendant’s cost.

                                                                     /s/ Cecilia M. Scanlon
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